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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 13-CV-1300-MSK-MJW

   JOHN B. COOKE, Sheriff of Weld County, Colorado, et al.

         Plaintiffs,

   vs.

   JOHN W. HICKENLOOPER, Governor of the State of Colorado,

         Defendant.


   RESPONSE OF LINCOLN COUNTY SHERIFF TOM NESTOR TO
             DEFENDANT’S INTERROGATORIES

          Sheriff Nestor, by and through his undersigned counsel, and pursuant to Fed. R.
   Civ. P. 33(b), hereby responds to Defendant’s Interrogatories as follows:

                               GENERAL OBJECTIONS

         Where no objection is interposed, the responses below reflect all responsive
 information and documents identified by Sheriff Nestor before the date of the
 responses, pursuant to a reasonable and diligent search and investigation conducted
 in connection with this discovery. To the extent the discovery purports to require
 more, Sheriff objects on the grounds that (a) the discovery seeks to compel him to
 conduct a search beyond the scope of permissible discovery contemplated by the
 Federal Rules of Civil Procedure, and (b) compliance with the discovery would be
 oppressive, and would impose an undue burden or expense.

         Sheriff Nestor’s discovery responses are also made subject to the ongoing
   discovery and trial preparation in this case. These discovery responses are made
   based on the best information, including facts available as of the date of such
   responses. Sheriff Nestor reserves the right to amend, supplement, or change these
   discovery responses as permitted or required under the Federal Rules of Civil
   Procedure based on additional information obtained through the discovery and trial
   preparation process.



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         Sheriff Nestor makes each individual response subject to and without
   waiving the conditions and objections that are stated in the sections of these
   responses entitled “General Objections” and “Objections to Instructions and
   Definitions” and that are specifically referred to in that particular individual
   response.

          Sheriff Nestor makes each individual response without adopting in any way
   (unless otherwise stated) the terms and phrases that Defendant purports to define
   in his discovery. When Sheriff Nestor uses words or phrases that Defendant has
   purported to define, those words and phrases should be given either (a) the meaning
   set out by Sheriff Nestor in his responses, or in its objections to the specific
   definitions, or (b) the ordinary meaning of such words or phrases.


              OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

          Defendant has purported to define several terms used in his discovery. In his
   responses, Sheriff Nestor gives ordinary words and phrases their ordinary meaning.
   By making this written response, Sheriff Nestor does not (a) adopt any purported
   definition, (b) waive or limit its objections to Defendant’s purported definitions, or
   (c) concede the applicability of any such definition to any term or phrase that might
   be contained in written responses. Wherever these words are used in Defendant’s
   interrogatories, these objections and these clarifications are incorporated, unless
   otherwise specified in the request.

          Defendant purported to define “you” and “your” to include “counsel for
   Plaintiffs.” Sheriff Nestor objects to this definition to the extent that it purports to
   require the disclosure of information, communications, or documents protected from
   disclosure by the attorney-client privilege, work product immunity, or any other
   privilege or immunity.

   RESPONSES

   1. With respect to each and every home invasion or “robbery in the home” to which
   your department has responded since January 1, 2004, please:

      a. describe the circumstances surrounding the home invasion/robbery in the
         home, including: the date and location (by city and county), the number of
         perpetrators involved, whether or not the perpetrator(s) carried firearms, and
         whether or not the perpetrator(s), victim(s), or others fired any shots;

   Response: We have had no home invasions reported since 2004. We have covered
   102 residential burglaries of which the occupants were not at the residence and 119
   commercial burglaries since that date.
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         b. if a firearm was fired or otherwise used or displayed by any person,
         identify who used, displayed, or discharged the firearm, the manner in which
         they did so, whether the firearm used a magazine, the capacity of any
         magazines from which bullets were fired, the number of rounds fired by each
         individual, and whether any person was shot;

   Response: Sheriff Nestor objects to this interrogatory on the ground that the
   phrase “otherwise used or displayed” is vague and ambiguous. Subject to and
   without waiving this objection: In each of these burglaries no firearms were shown
   or used

   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: There were no gunshots or injuries related to gunshots reported in that
   time frame.

   2. With respect to each and every occasion when you, your predecessor(s) in office,
   or a sheriff’s deputy has discharged a firearm in the course of duty since January 1,
   2004 (not including firearm practice or training), please:

   a. describe the circumstances surrounding the firearm discharge, including the
   date, location (by city and county), the reason for the firearm discharge, and
   whether you, your predecessor(s), or deputy were fired upon;

   Response: Sheriff Nestor objects to this interrogatory on the ground that it is
   overbroad and not reasonably calculated to lead to the discovery of admissible
   evidence. Subject to and without waiving this objection:

   In January 2011 I (Sheriff Tom Nestor) pursued a domestic violence suspect from a
   neighboring jurisdiction. At the conclusion of the pursuit the suspect jumped out of
   his stolen truck and pointed a snub nose revolver at me and the Undersheriff. I
   shot at the suspect 4 times with my department issued .40 caliber handgun. The
   suspect received minor injuries and was transported to the hospital. The suspect
   did not fire his weapon. He is currently serving 16 years in prison.

   On March 9th, 2011, Deputy Josh Morrison and Deputy Albert Leach entered into a
   residence with Limon Police Sgt. Russell Lengel and Limon Officer Jay Sheridan.
   The officers were looking for a wanted fugitive from the US Marshals service. The
   officers encountered the suspect in a back bedroom and he fired several rounds in
   the direction of the officers. Officer Jay Sheridan was killed at the scene from the



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   suspect. Deputy Leach and Sgt. Lengel were pinned down in a bathroom for several
   hours.


   b. if a firearm was fired by any person involved in the event, identify who fired the
   firearm, whether the firearm used a magazine, the capacity of any magazines from
   which bullets were fired, the number of rounds fired by each individual, and
   whether any person was shot;

   Response: Sheriff Nestor objects to this interrogatory on the ground that the word
   “event” is vague. Subject to and without waiving this objection:

   During the January 2011 event I was the only one who fired my department issued
   Smith and Wesson 4006 with a magazine.

   During the March 9, 2001 incident no officers fired their weapons. The suspect was
   shooting a .45 caliber pistol with a magazine.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Officer Jay Sheridan died at the scene and had a vest on at the time of
   his death.

   3. With respect to the allegations of paragraph 102 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 1973 in which you or your
   predecessors in office requested the armed assistance of able-bodied adults (“posse
   comitatus”). In your response, state in detail the circumstances surrounding each
   such request, including:

   a. the reason for the request, the number of individuals who responded to the
   request, whether such individuals were law enforcement officers or were deputized
   for the purposes of participating, and whether these individuals were required by
   you or your predecessors to carry firearms in connection with their participation;

   Response: My predecessor had never requested an armed response from the
   citizens. I too have not requested such a response. However, it is not uncommon for
   our citizens in rural areas to watch for vehicles or offenders from an incident. Many
   of our citizens are concealed weapons holders.

   I started a posse in 2007 for the purposes of events, evidence searches and missing
   person searches. Since I started the 20 person posse, they have only been deployed


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   on three occasions and all deployments were for evidence searches. The posse has
   also been deployed for gate security at the annual Lincoln County Fair.

   I don’t require, but I do authorize my posse to carry an approved handgun as long
   as they have been through concealed carry training. We also offer them additional
   training through a simulator. The posse members are authorized for ride-alongs
   with certified deputies.

   b. whether any individual who responded to the request to assist law enforcement
   or any individual(s) they encountered while assisting law enforcement discharged a
   firearm. If shots were fired, state the circumstances surrounding the discharge of
   the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
   magazine, the capacity of any magazines from which bullets were fired, the number
   of rounds fired, and whether any person was shot;

   Response: There have been no shots fired or discharged firearms in relation to the
   posse.

   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: There have been no gunshot injuries.

   4. With respect to the allegations of paragraph 103 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 2004 when you or your
   predecessors appointed deputies who were not certified peace officers. In your
   response, state in detail:

   a. the date and duration of each individual’s appointment, the circumstances
   surrounding the need for the “non-certified” deputy, whether the non-certified
   deputy was required to carry a firearm, whether the “non-certified” deputy carried a
   firearm he/she supplied or a firearm supplied by the sheriff’s office, and whether
   any non-certified deputy ever discharged a firearm;

   Response: In Lincoln County we rely on non-certified personnel to run and
   operate our jail facility. With lower pay and advances associated with rural sheriff’s
   offices it is very hard to get enough certified deputies to operate the jail. Non-
   certified deputies do courtroom security and prisoner transport as well. I currently
   have 12 deputies assigned to the jail with only 5 being certified. In the recent past
   we have had no certified deputies working inside the jail system for Lincoln County.
   It is virtually impossible to send non-certified deputies to academies to get certified.
   Non-certified deputies are required to take firearms training with our range
   instructor. Non-certified deputies carry guns at times in the courtrooms and on

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   prisoner transports. Firearms are not provided to any jail deputies, Any firearms
   they do have must meet the department's policies and be approved by the
   department range officer.



   b. the circumstances surrounding the discharge of the non-certified deputy’s
   firearm, including: the date and location of the event, whether the non-certified
   deputy was fired upon, the number of rounds fired by the non-certified deputy, the
   number of rounds fired by others involved in the event, the capacities of magazines
   from which bullets were fired, and whether any individual was shot;

   Response: We have had no discharge of firearms by non-certified deputies.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: There have been no individuals injured or killed by gunshots in relation
   to non-certified deputies.



   5. Describe every occasion since January 1, 2004 when you, your predecessor
   sheriff(s), a sheriff’s deputy, or a family member living with these individuals has
   discharged or otherwise used or displayed a firearm in defense of self, home, or
   other family members. In your response, describe the circumstances surrounding
   each event, including: the events leading to the use, display, or discharge of the
   firearm, the number of rounds fired by you or others, and the capacity of magazines
   used by firearms that were discharged. If any person was shot, identify the
   individuals who inflicted and suffered any gunshot injuries and state whether any
   individual was killed.

   Response: Sheriff Nestor objects to this interrogatory on the ground that the
   phrase “otherwise used or displayed” is vague and ambiguous. Subject to and
   without waiving this objection, I am not aware of any incidents since 2004 of any of
   my sheriff’s deputies or family members displaying or using a firearm at home.

   6. With respect to the allegations of paragraph 105 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 2004 in which you or your
   predecessors in office requested armed citizen assistance for emergencies and
   natural disasters. In your response, state in detail the circumstances surrounding
   each such request, including:

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   a. the reason for the request, the number of individuals who responded to the
   request, and whether such individuals were law enforcement officers or were
   deputized for the purposes of participating, and whether these individuals were
   required by you or your predecessors to carry firearms;

   Response: Both my predecessor and I have had many natural disasters such as
   tornadoes. Citizens all come to help in these situations and we rely on them to
   watch over damaged businesses and homes. I only have 4 patrol deputies and 3
   command staff. Without the assistance of citizens I could not possibly watch
   everything. Earlier this year one of my deputies lost an individual during a pursuit.
   I searched a house side by side with an armed citizen who I knew had a concealed
   weapon permit. However, I am not aware of a request specifically that a citizen be
   armed since 2004.


   b. whether any individual who responded to the request to assist law enforcement
   or any individual(s) they encountered while assisting law enforcement discharged a
   firearm. If shots were fired, state the circumstances surrounding the discharge of
   the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
   magazine, the capacity of any magazines from which bullets were fired, the number
   of rounds fired, and whether any person was shot;

   Response: There were no shots fired.

   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: There were no injuries or deaths from gunshots by an armed citizen
   response.



   AS TO OBJECTIONS:




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                                          STRUMILLO

   AS TO RESPONSES:
          Pursuant to 28 U.S.C. § 1746, I, Tom Nestor, do hereby verify under penalty
   of perjury that the foregoing responses to Defendant’s Interrogatories are true and
   correct to the best of my information and belief.

         Dated this 12th day of August, 2013.

                                          ______             _____________
                                          s/Sheriff Tom Nestor




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